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 PSC Exhibit A
                          UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


                                                    )
    IN RE: JOHNSON & JOHNSON                        )
    TALCUM POWDER PRODUCTS                          )
    MARKETING, SALES PRACTICES AND )                    MDL Docket No. 2738
    PRODUCTS LIABILITY LITIGATION                   )
    ___________________________________ )
                                                    )
    This Document Relates To All Cases              )
                                                    )
            THIS MATTER having been brought before the Court during the July 21,

    2021 status conference, pursuant to the Court’s March 3, 2021 Order regarding case-

    specific discovery for Stage Three cases, and for good cause shown;

            IT IS on this 2nd day of August 2021,

            ORDERED that the discovery deadlines set forth in the Court’s March 3,

    2021 Order are hereby amended as follows:

        1. Any depositions of Plaintiffs’ expert witnesses shall be completed by
           September 15, 2021.

        2. Defendants shall designate all general and case specific experts pursuant to
           Rule 26(a)(2)(A) and serve on plaintiffs’ counsel the Rule 26(a)(2)(B) reports
           of all general and case specific expert witnesses they may use at trial in any
           of the Stage Three cases by October 22, 2021.




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        3. Any depositions of defendants’ expert witnesses shall be completed by
           December 3, 2021.
            IT IS FURTHER ORDERED that:
        4. Depositions of general causation experts may only be taken if the expert
           provides a supplemental report, in which case the deposition shall be limited
           to four hours of testimony time and may only address new material contained
           in the supplemental report.

        5. Depositions of experts who address case specific issues for individual
           plaintiffs in addition to providing new or supplemental reports on general
           causation shall be limited to a total of one day/seven hours of testimony unless
           the expert issues case-specific reports in three or more cases, in which case
           the deposition is limited to two days/14 hours of testimony time.
            IT IS FURTHER ORDERED that:
        6. Plaintiffs shall identify the case they propose for the first trial by January 15,
           2022.

        7. Plaintiffs shall serve their final list of trial experts for the first bellwether trial
           by February 1, 2022; defendants shall serve their final list of trial experts for
           the first bellwether trial by February 21, 2022.

        8. The parties shall file and serve the proposed Joint Final Pretrial Order no later
           than 30 days before trial.



                                                      /s/ Freda L. Wolfson
                                                      Hon. Freda L. Wolfson,
                                                      U.S. Chief District Judge




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